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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

UNITED STATES OF AMERICA ex. rel.,      )
MICHAEL P. MISCH, et al., Relators,    )
                                       )
            Plaintiffs,                )
                                       )
            v.                         ) Case No. 3:16CV587
                                       )
MEMORIAL HOSPITAL OF                   )
SOUTH BEND, INC., et al.,               )
                                        )
      Defendants.                       )
________________________________________)

                      CONSENT OF UNITED STATES OF AMERICA
                       TO RELATORS’ VOLUNTARY DISMISSAL

       Relators filed a Notice of Voluntary Dismissal on January 19, 2018. Docket No. 169.

Pursuant to the False Claims Act, 31 U.S.C. § 3730(b), the United States notifies the Court that

the United States consents to the dismissal of this case without prejudice to the United States.

The United States previously notified the Court that it had declined to intervene in this case on

November 17, 2017. Docket No. 37.

                                              Respectfully submitted,

                                              THOMAS L. KIRSCH II
                                              UNITED STATES ATTORNEY

                                              /s/ Wayne T. Ault
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                                CERTIFICATE OF SERVICE

       I certify that on this 19th day of January 2018, I electronically filed the foregoing Consent

of United States of America to Relators’ Voluntary Dismissal with the Clerk of the Court using

the CM/ECF system, which sent notification of such filing to all counsel of record.

                              /s/ Wayne T. Ault
                              Wayne T. Ault
                              Assistant United States Attorney
